           Case 4:20-cv-01458-JM Document 5 Filed 01/12/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

WAYLON BIGGS                                                               PLAINTIFF


V.                                 CASE NO. 4:20CV1458 JM


UNITED SERVICE AUTOMOBILE ASSOCIATION
d/b/a USAA                                                                DEFENDANT


                                           ORDER

       Plaintiff’s motion to dismiss the complaint without prejudice is GRANTED. (Docket #

4). This case is hereby dismissed without prejudice. The Clerk is directed to close the case.

       IT IS SO ORDERED this 12th day of January, 2021.



                                                    __________________________________
                                                    James M. Moody Jr.
                                                    United States District Judge
